AO 9l (Rev, 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District ot" Tennessee

 

 

United States of America )
V. § Case No. 1:19~mj* § l `~
DANIEL CLAYTON BRYANT §
Defendam(s) )
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of April 1, 2019 - April 3, 2019 in the county of Hamilton in the
Eastern DlSU”in 010 Tennessee , the defendant($) Violated:
Code Secfz'on Ojj”ense Descrl`ption
18 USC § 1201 Kidnapping
18 USC § 2113(a) and (e) Bank Robbery and Extortion

This criminal complaint is based on these facts:

See attached affidavit

g Continued on the attached sheet.
Comp/ainanl ’s Signalure

Matthew Hennessee, Task Force Officer, FBI
Prinled name and title

SWom to before me and signed in my presence

   

 

Judge ’S sig)zzzYTH‘eW

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City and Stat€: Chattanooga, Tennessee Susan K. Lee, U.S. Magistrate Judge
P)‘inted name and title

 

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AFFIDAVIT IN SUPPORT ()F
CRIMINAL COMPLAINT

1, Matthew Hennessee, being first duly sworn, hereby depose and state as follows:

1. l am a Task Force Officer with the Federal Bureau of Investigation (“FBI”), and
have been since May 2001. 1 have also been a police officer with the Chattanooga Police
Depaitment (“CPD”) in Chattanooga, Tennessee since for approximately 24 years. During my
tenure as an investigator assigned to narcotics and violent crime investigations, 1 have gained a
working knowledge of narcotics trafficking methods and techniques as well as violent crimes,
including armed bank robbery, kidnapping, firearms use, etc. l have been training to conduct
federal criminal investigations, particularly with respect to violent crime, locating and acquiring
evidence of criminal activity, including cellular telephones, and seizing evidence and assets
related to/derived from such criminal activity.

2. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and Witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested Warrants and does not set
forth all of my knowledge about this matter.

3. Based on the facts set forth in this affidavit, there is probable cause to believe that
on or about April l through 3, 2019, DANIEL CLAYTON BRYANT (“BRYANT”) violated
Title 18, United States Code, Section 1201, that is, unlawfully seizing, confining, inveigling,
decoying, kidnapping, abducting, or carrying away and holding for ransom or reward or
otherwise any person who is willfully transported in interstate commerce Kidnapping; and Title
18, United States Code, Section 2113(a) and (e), that is, by force and violence, or by
intimidation, taking or attempting to take from the person or presence of another, or obtains or

attempts to obtain by extortion any property or money or other thing of value belonging to, or in

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the case, custody, control, management, or possession of, any bank, credit union, or any savings
and loan association, and in committing the offense forces any person to accompany him without
their consent.

4. On April 4, 2019, at approximately 1253 hours, officers with the Chattanooga
Police Department responded to the Bank of America located at 3620 Tennessee Avenue,
Chattanooga, Tennessee, in response to a report of a kidnapping Once on-scene, officers made
contact with the victim. The victim told officers that he had been taken against his will and
forced to withdraw thousands of dollars from his bank account, and provided documentary
evidence showing the transaction history proving the amount of money withdrawn The CPD
violent crimes unit responded and further interviewed the victim.

5. The victim stated that on Monday, April l, 2019, at approximately 1200 hours,
he dropped his pickup truck at l\/lountain View Chevrolet to have the vehicle serviced. The
victim had recently purchased the truck at l\/lountain View Chevrolet after receiving a substantial
financial settlement resulting from severe on-the-j ob injuries that caused him to have one leg
amputated and left him paralyzed on one side. The victim was offered a ride home by a
Mountain View salesman identified by the victim as BRYANT.

6. After the victim got into BRYANT’s vehicle, BRYANT transported the victim
against his Will to the Bank of America branch located on Gunbarrel Road in Chattanooga,
Tennessee. BRYANT threatened to kill the victim and his family if the victim did not withdraw
money from the victim’s account Over the course of two days, between April l and April 3,
2019, BRYANT held the victim against his will and transported him to Several bank branches in
the Eastern District of Tennessee and elsewhere, forcing him to withdraw money from his

account under fear of death. As a result of this threat, the victim did withdraw money from his

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accounts at the Bank of Tennessee, Gunbarrel Road bank branch, as well as other bank locations,
all of which were then federally insured by the F ederal Deposit Insurance Corporation (“FDIC”),
totaling approximately $199,000in cash and cashier’s checks made out to BRYANT.

7. During the kidnapping, BRYANT took the victim across state lines to a hotel
room in or near Atlanta, Georgia, where BRYANT took the victim’s cell phone and credit cards,
and forced the victim to smoke crack cocaine, before returning the victim to Mountain View
Chevrolet on April 3, 2019.

8. On April 5, 2019, the FBI obtained bank records from Pinnacle Bank related to
the deposit of cashier’s checks drawn upon the victim’s Bank of America account and deposited
into the account of BRYANT. As a result of this inquiry, the FBI learned that on April l, 2019,
Bryant deposited $23,000 into his Pinnacle Bank Account, which consisted of Bank of America
Cashier’s Check, No. 119200117771, issued from the Bank of America on Gunbarrel Road,
Chattanooga, Tennessee, made out to BRYANT, in the amount of S12,000.00 drawn from the
victim’s account, plus $l 1,000 in cash. At the time he obtained the $12,000 cashier’s check,
BRYANT also forced the victim to withdraw $12,000 in cash from the victim’s Bank of America
account On April 3, 2019, BRYANT deposited a Bank of America Cashier’s Check, No.
1271921701, issued from the Bank of America at Arbor Place Mall in Douglasville, Georgia,
made out to BRYANT, in the amount of $175,000 drawn from the victim’s account into
BRYANT’s Pinnacle Bank Account.

9. The FBI began actively looking for BRYANT on April 4, 2019, the date the
kidnapping report was taken, but, despite repeated telephone contact with law enforcement,
BRYANT refused to turn himself into police, and told officers that he would have his attorney

contact them at a later date. Your Affiant obtained search warrants for two cellular phones

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believed to be used by BRYANT, and the FBl began tracking BRYANT’s phone on April 9,
2019, and located him briefly in the Atlanta, Georgia area before he fled on lnterstate 20
westbound. Additional tracking information led to the location and apprehension of BRYANT
in Cedar Hill, Texas, on April 14, 2019.

10. On April 5, 2019, your Affiant obtained and served a seizure warrant for funds
maintained in BRYANT’s Pinnacle Bank Account, recovering approximately $288,000.

11. Based on the foregoing, your Affiant is of the opinion that there is probable cause
to believe that DANIEL CLAYTON BRYANT violated Title 18, United States Code, Section
1201 , that is, unlawfully seizing, confining, inveigling, decoying, kidnapping, abducting, or
carrying away and holding for ransom or reward or otherwise any person who is willfully
transported in interstate commerce Kidnapping; and Title 18, United States Code, Section
2113(a) and (e), that is, by force and violence, or by intimidation, taking or attempting to take
from the person or presence of another, or obtains or attempts to obtain by extortion any property
or money or other thing of value belonging to, or in the case, custody, control, management, or
possession of, any bank, credit union, or any savings and loan association, and in committing the

offense forces any person to accompany him Without their consent.

[SIGNATURES ON NEXT PAGE]

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FURTHER YOUR AFFIANT SAYETH NAUGHT.

MATTHEW HENNESSEE
TASK FORCE OFFICER

FEDERAL BUREAU OF INVESTIGATION

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Subscribed and sworn to before me this 51 day of April, 2019.

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/s"us¢rN/K. LEE /`“'”

AUNl'l`l§ll:) STATES MAGISTRATE JUDGE

 

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